             Case 20-10498-MBK           Doc 20      Filed 01/21/21 Entered 01/21/21 16:05:14                   Desc Main
                                                     Document Page 1 of 2
Albert Russo, Trustee
CN 4853
Trenton, NJ 08650
                                       UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF NEW JERSEY

                                            Trustee's Proposed Distribution Report

                                                 Chapter 13 Case # 20-10498 / MBK

In Re:                                                                                                 Case Status: Open / Confirmed

Resul Kaja


The above referenced debtor(s) plan has been confirmed. The Standing Trustee’s office has set up the case for distributions to
creditors.


Attached is the Trustee’s Proposed Distribution Report for review.


ATTORNEYS AND CREDITORS: IT IS YOUR RESPONSIBILITY to review this report and ensure that you are in agreement with
the information contained therein. You are strongly advised to compare this report against your filed Proof of Claim and the court 's
docket. If you are not in agreement with this report, you must notify the Trustee in writing, at the address listed above or via email
to info@russotrustee.com, within five (5) days of the docketing of this information and/or file the appropriate motion with the court.


UNSECURED CREDITORS: If your claim does not appear on this report, please check the court 's claims register to be sure it is
properly filed. If it has been properly filed and it is to be paid through the confirmed plan, it will appear on the Trustee 's Proposed
Distribution Report that is filed after the bar review.




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                                          UNITED STATES BANKRUPTCY COURT
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                                             Trustee's Proposed Distribution Report

                                                  Chapter 13 Case # 20-10498 / MBK

In Re:                                                                                                     Case Status: Open / Confirmed

Resul Kaja


                                                      CLAIMS AND DISTRIBUTIONS
Claim ID                  Claimant Name             Dist. Priority          Class            Claim Amount          Amount Paid     Balance Due

    0      Resul Kaja                                     5            Debtor Refund                   $0.00              $0.00          $0.00

    0      Daniel Straffi, Esq.                          13             Attorney Fees             $4,400.00            $4,400.00         $0.00

    9      Metro City Bank                               24           Mortgage Arrears           $17,738.11            $1,643.80    $16,094.31

    3      NEW YORK STATE                                28            Priority Crediors         $26,285.43               $0.00     $26,285.43

    7      CAPITAL ONE BANK (USA), N.A.                  33          Unsecured Creditors          $4,430.90               $0.00      $4,430.90

    5      CAPITAL ONE, NA                               33          Unsecured Creditors             $516.74              $0.00        $516.74

    1      CAVALRY SPV I, LLC                            33          Unsecured Creditors          $8,281.06               $0.00      $8,281.06

    2      MERRICK BANK                                  33          Unsecured Creditors             $632.99              $0.00        $632.99

    4      NEW YORK STATE                                33          Unsecured Creditors          $6,301.20               $0.00      $6,301.20

    8      PREMIER BANKCARD, LLC.                        33          Unsecured Creditors             $929.84              $0.00        $929.84

    6      SANTANDER CONSUMER USA INC                    33          Unsecured Creditors          $8,892.05               $0.00      $8,892.05


                                                              CASE SUMMARY
           Summary of all receipts and disbursements from date filed through January 21, 2021.
                     Total Receipts:          $7,200.00                   Current Monthly Payment:        $600.00
                     Paid to Claims:          $6,043.80                   Arrearages:                          $0.00
                     Paid to Trustee:           $592.80
                     Funds on Hand:             $563.40                   Total Plan Base:             $66,893.00




Creditors are listed in the order they are scheduled to receive distributions. The DIST. PRIORITY column indicates order of
payments. A lower code is paid first. Equal codes are paid pro -rata.

If unsecured creditors are scheduled to receive a dividend, they are paid on a pro -rata basis pursuant to the confirmed plan. As a
result, the amounts to be paid / balances due listed in this report reflect the claim balance and may not be the actual amount to
be paid per the plan.


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